                                           IN THE UNITED STATES BANKRUPTCY COURT
                                              FOR THE WESTERN DISTRICT OF TEXAS

IN RE:                                                                       §                       CASE NO. 18-11717
            Albert M. Gonzalez                                               §
                                                                             §
                                                                             §
                                                                             §
                              Debtor(s)                                      §                       Chapter 13
                                                        CHAPTER 13 PLAN AND MOTIONS FOR
                                                         VALUATION AND LIEN AVOIDANCE
                                                                              AMENDED

If you oppose the Plan’s treatment of your claim or any provisions of this Plan, YOU MUST FILE AN OBJECTION to confirmation
no later than fourteen (14) days before the confirmation hearing date.
Use of the singular word “Debtor” in this Plan includes the plural where appropriate. All section references (“§”) are to the
Bankruptcy Code unless otherwise noted.
The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the Plan
includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will be
ineffective if set out later in the Plan.
                                                                          1. Plan Overview

            A limit on the amount of secured claim based on valuation of collateral for
1.1         the claim, set out in Sections 7.8 and 7.9, which may result in a partial                   Included         Not Included
            payment or no payment at all to the secured creditor

            Avoidance of a wholly unsecured lien or judicial lien or nonpossessory,
1.2                                                                                                     Included         Not Included
            nonpurchase-money security interest, set out in Sections 7.9 and 7.10

1.3         Nonstandard provisions, set out in Section 8                                                Included         Not Included

                                                                          2. Plan Summary
2.1        Debtor's Plan payment will be $1050 per month, paid by 3rd Party Epay (if accepted by Trustee), Payroll Order, or
             Direct (Money Order or Cashier's Check). Variable payments, if applicable, are proposed as follows:
            Months                                               Amount of Monthly Payment
           Payment # 1 = $1050 X 60 months, Mos Begin: 1, End: 60, Total$ 63000
            1 - 60                                               $1050
           The term of the Plan is 60 months. The gross amount to be paid to the Trustee (sometimes, the "base amount") is $63,000.00.
2.2        Under this Plan, the Trustee will pay all allowed priority claims in full; all allowed secured claims to the extent of the value
           of the collateral or the amount of the claim, whichever amount is provided for in Sections 7.7 and 7.8; and approximately 7%
           to allowed general unsecured claims. The specific treatment for each class of creditors is set forth below in the Plan.
           This Plan does not allow claims. A creditor must file a proof of claim by the applicable deadline to receive
           distributions under the plan as confirmed. Creditors are referred to the Federal Rules of Bankruptcy Procedure, the
           Local Bankruptcy Rules for the Western District of Texas, and the Standing Order for Chapter 13 Administration for
           this Division for information on procedures and deadlines.

2.3        The aggregate value of Debtor's non-exempt assets is: $ 0.00 .


                                                                     3. Vesting of Estate Property
              Upon confirmation of the Plan, all property of the estate shall vest in the Debtor, shall not remain property of the estate,
           and shall not be subject to the automatic stay of § 362; provided however, in the event of conversion of this case to chapter 7

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
           the property of the Debtor as of the petition date should revest in the estate.
              Upon confirmation of the Plan, all property of the estate shall not vest in the Debtor, shall remain property of the estate,
           and shall remain subject to the automatic stay of § 362.
                                                           4. Tax Refunds and Annual Tax Returns
4.1        Tax Refunds.
           All tax refunds received by Debtor (or either Debtor if a joint case) while the chapter 13 case is pending shall be allocated as
           set forth below:
           1) The total amount of the aggregate tax refund(s) received for any tax period that exceeds $2,000.00 shall, upon receipt, be
              paid and turned over to the Trustee as additional disposable income and such amount shall increase the base amount of the
              Plan. The Plan shall be deemed modified accordingly, and the Trustee will file a notice of plan modification within 21
              days of receipt of the tax refund;
           2) This $2,000.00 annual limit shall apply to both joint-debtor and single-debtor cases;
           3) The $2,000.00 otherwise retained by Debtor must first be applied to any Plan arrearages;
           4) Notwithstanding subparagraph (1) above, Debtor may file a notice to retain the portion of the tax refund otherwise payable
              to the Plan under subparagraph (1) with twenty-one (21) day negative notice as set forth in Local Rule 9014(a) if, at the
              time of receipt of a refund, Debtor’s Plan provides for the payment of 100% of allowed general unsecured claims within
              the term of this Plan. If the Trustee does not object within the twenty-one (21) day negative notice period, Debtor may
              retain that portion of the tax refund.
           The Trustee is hereby authorized to endorse a tax refund check if the check is made payable to Debtor.
4.2        Annual Tax Returns.
           Debtor shall provide a copy of the annual post-petition income tax return to the Trustee if requested to do so or if required to
           do so pursuant to the Standing Order for Chapter 13 Administration for the division in which this case is pending. If this is a
           joint case, each Debtor shall comply with this provision if separate returns are filed.
                                                   5. Pre-Confirmation Adequate Protection Payments
           Pre-confirmation adequate protection payments under § 1326(a)(1) and § 502(b) shall be made as provided below, and
           pursuant to the Standing Order for Chapter 13 Administration for the division in which this case is pending:
           A. All pre-confirmation payments i f required by § 1326(c) and proposed below will be made by the Chapter 13 Trustee
              without further order of the Court. Such payments shall be considered payments pursuant to § 1326(a) and 28 U.S.C. §
              586(e).
           B. If the Debtor fails to make the required plan payments and funds on hand are not sufficient to pay all pre-confirmation
               adequate protection payments due, then such payments shall be paid on a pro rata basis, with the exception of ongoing
               monthly mortgage payments made by the Trustee.
           C. Monthly pre-confirmation adequate protection payments will be calculated from the date the first plan payment is due. To
              receive adequate protection payments, a secured creditor must have on file with the Clerk of the Court a timely filed and
              allowed proof of claim. The proof of claim must include proof of the creditor’s security interest and shall be served on the
              Chapter 13 Trustee, the Debtor and Debtor’s attorney. The Trustee will thereafter commence disbursement of
              preconfirmation adequate protection payments in the next regularly scheduled monthly disbursement following the filing
              of the claim, subject to normal operating procedures.
           D. The Debtor proposes the following pre-confirmation adequate protection (“AP”) payments. The Trustee shall apply
              pre-confirmation adequate protection payments to accrued interest, if applicable, and then to principal. AP payments shall
              cease upon confirmation of the Plan.
                                                                                    Interest Rate,
                                                                 Monthly AP                             Other Treatment
Creditor & Collateral                                                               If Claim is
                                                                 Payment                                Remarks
                                                                                    Over Secured
-NONE-


                                           6. Executory Contracts / Unexpired Leases / Contracts for Deed
6.1        Pursuant to § 1322(b)(7) and § 365, Debtor hereby elects to assume the following executory contracts, unexpired
           leases, and/or contracts for deed as follows:
Creditor                                                             Property or Contract Description            Current Monthly

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy
                                                                                                                      Payment to be Paid
                                                                                                                      Directly by the
                                                                                                                      Debtor
-NONE-

6.2     Pursuant to § 1322(b)(7) and § 365, Debtor hereby elects to reject the following executory contracts, unexpired leases,
and/or contracts for deed:
Creditor                                                                        Property
-NONE-

                                                                     7. Treatment of Claims
7.1        Administrative Claims & Request for Attorney Fees.
           The Trustee shall collect the allowed statutory Trustee fee upon receipt of all monies paid by or on behalf of Debtor. All
           other administrative claims, including Debtor’s attorney fees, shall be paid according to the terms of this Plan.
           Upon confirmation of the Plan, the Court approves and awards $3,600.00 to Debtor’s attorney as an administrative claim for
           legal services performed in this case in accordance with the applicable benchmark. Debtor’s attorney may file applications
           for an additional award of attorney fees pursuant to the Bankruptcy Code, Local Bankruptcy Rules for the Western District of
           Texas, and the Standing Order for Chapter 13 Administration for the division in which this case is pending. If additional
           monies are available, the Trustee may, within his or her discretion, disburse such funds to this class on a pro rata basis. The
           Trustee shall disburse payments to the attorney as follows:
                                                    Amount of Fee Paid        Payment                         Additional
Debtor's Attorney
                                                    Through the Plan          Method:                         Provisions
Susan G. Taylor 19723660                            2,398.00                    Standing Order                Attorney to be paid $1,000.00 in
                                                                                Other                         the first month and $350.00 to
                                                                                                              be paid thereafter until attorney
                                                                                                              fees paid in full.
7.2        Priority Claims.
           All allowed claims entitled to priority under § 507(a), except § 507(a)(2), shall be paid in full in deferred distributions by the
           Trustee, unless: (1) the holder of a particular claim agrees to a different treatment of such claim; or (2) such claim is provided
           for under § 1322(a)(4). Unless the Plan provides otherwise, the distributions shall be made by the Trustee. If the Plan
           identifies a creditor’s claim as a priority claim and the creditor files the claim as a general unsecured claim, the claim shall be
           treated as a general unsecured claim unless otherwise ordered by the Court. If any priority claim is filed for a debt that was
           either not scheduled or scheduled as a general unsecured claim, the claim shall be allowed as a priority claim unless
           otherwise ordered by the Court. Allowed priority claim(s) shall be paid without interest, unless otherwise ordered by the
           Court or unless specifically allowed under § 1322(b)(10) and provided for below.
           The amount set forth in the Plan is an estimate and if the actual allowed claim is in a different amount, the amount to be paid
           pursuant to the Plan shall be the amount due on the allowed claim.
           Domestic Support Obligations (“DSO”). The Trustee shall pay all pre-petition DSO claims through the Plan unless the Court
           orders otherwise. Debtor shall pay all DSO payments that accrue post-petition directly to the holder, or the holder’s agent,
           pursuant to the terms of the DSO.
           The Trustee shall disburse payments to the following creditors holding priority claims:

                                                                                                                                           Est.
                                                                                                 Est. Claim
Creditor                               Description                                                                                     Monthly
                                                                                                   Amount
                                                                                                                                       Payment


If additional monies are available, the Trustee may, within his or her discretion, disburse such funds to this class on a pro rata basis.
7.3        Arrears on Assumed Executory Contracts/Leases/Contracts for Deed.
           The Trustee shall disburse payments for arrears to creditors holding assumed executory contracts, leases, and/or contracts for
           deeds. The amounts listed below by Debtor are estimates. If a creditor files a proof of claim and the claim for arrears or the
           ongoing monthly payment is in a different amount than stated below, the payments under the Plan shall be based on the
           creditor’s claim unless a different amount is established by court order.
           Those creditors holding claims within this class are as follows:


Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
Creditor & Collateral                                      Arrears & Treatment of                 Amount of Ongoing Monthly
                                                           Arrears Through the Plan               Payment Through the Plan
-NONE-


7.4        Collateral to be Surrendered.
           Upon the entry of an order confirming the Plan or an order modifying the Plan, the stay shall automatically terminate with
           regard to the collateral surrendered. Upon the entry of such order, the creditor shall have ninety (90) days from the date of the
           order to file a claim or amended claim as to any deficiency balance that may remain, and such deficiency balance will be paid
           as a general unsecured claim. Any such claim is subject to objection.
           Debtor surrenders the following collateral:
Creditor                                                   Collateral                             Location of Collateral
-NONE-

7.5   Creditors to be Paid Directly by Debtor (Other Than Mortgage Creditors), by a Third Party, or by a Co-Debtor.
[USE ONLY IF THERE IS NO DEFAULT]
           Creditors within this class shall retain their liens on the collateral that is security for the claim until the claim has been paid in
           full as determined by the note and/or applicable nonbankruptcy law.
           If certain claims are paid directly by Debtor to creditor, Debtor shall be deemed acting as a disbursing agent under the Plan
           for payment of such claim. Such payments shall be made in addition to the payments by Debtor to the Trustee and are
           deemed to be payments made pursuant to the Plan.
           The following creditors shall be paid directly by Debtor, a Third Party, or a Co-Debtor:
                                                                     Debt     Monthly                                            Identify
Creditor                          Collateral                                            Remarks
                                                                     Owed     Payment                                            Payer
-NONE-

7.6        Mortgage Creditors: Ongoing Mortgage Payments & Direct Mortgage Payments on Debtor’s Principal Residence.
           Unless the Debtor is current on the mortgage on the petition date, or otherwise provided for under PLAN PROVISIONS 8.
           Nonstandard Plan Provisions, the Trustee shall pay all postpetition monthly mortgage payments to the mortgagee. Ongoing
           mortgage payments will be in the amount stated in the allowed proof of claim or pursuant to a Court Order. If Debtor makes
           a Plan payment that is insufficient for the Trustee to disburse all ongoing mortgage payments required below, the Trustee
           shall hold plan payments until a sufficient amount is received to make a full ongoing mortgage payment. Debtor shall provide
           to the Trustee all notices received from Mortgage Creditors including, statements, escrow notices, default notifications, and
           notices concerning changes of the interest rate if a variable rate mortgage. The automatic stay is modified to permit Mortgage
           Creditors to issue such notices.
           The Trustee shall be authorized to make changes to the ongoing monthly mortgage payments based on Notice filed pursuant
           to Bankruptcy Rule 3002.1(b) and to pay fees, expenses, and charges based on Notice filed pursuant to Bankruptcy Rule
           3002.1(c). The Trustee may request that the Debtor file amended Schedules I and J, and the Debtor shall do so on or within
           thirty (30) days after receiving such a request from the Trustee. If Debtor lacks the disposable income to pay the ongoing
           mortgage payment, the Trustee may seek dismissal. The Debtor or the Trustee may seek to modify the Plan based on
           Debtor’s current income, Debtor’s ongoing mortgage payment obligations, or as otherwise provided in § 1329.
           Alternatively, upon the filing by a Mortgage Creditor of a Notice pursuant to Bankruptcy Rule 3002.1(b) or 3002.1(c), the
           Trustee may file a Notice of Increase of Plan Payment with the Court if the Trustee reasonably believes that, under the
           circumstances, the increased payment should be Debtor’s responsibility. The Trustee shall serve the Notice of Increase of
           Plan Payment on Debtor and Debtor’s counsel. Such circumstances include but are not limited to: (1) increase in the
           mortgage payment or claim for expense is caused by Debtor’s failure to pay tax, insurance or other obligations to the
           mortgagee that the Debtor was required to pay directly; (2) cases in which the Debtor is paying less than the Debtor’s full
           disposable income because the Debtor has agreed to pay a 100% dividend to general unsecured creditors; and (3) cases
           where, because of the increase due the Mortgage Creditor, the current Plan would fail to pay fully the amount provided under
           the Plan to allowed secured, priority, and administrative claims and any required amount to be paid to general unsecured
           claims under the terms of the confirmed Plan by reason of § 1325(a)(4) or otherwise.
           The amount set forth in a Notice of Increase of Plan Payment shall become the modified Plan payment, and the Plan base
           shall be correspondingly increased. The Debtor must file a motion to modify Plan, supported by amended Schedules I and J
           as well as income verification, if the Debtor believes there is not, at that time, sufficient disposable income to pay the
           increased Plan payment or there is otherwise basis to amend the Plan rather than pay the increased Plan payment. The


Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
           Debtor’s motion to modify Plan shall be filed no later than thirty (30) days after Trustee’s Notice of Increase in Plan Payment
           is filed.
           It is possible that a change in the ongoing mortgage payment will affect the distribution to the unsecured creditors,
           and this provision of the Plan shall serve as adequate notice of the possibility.
           If Debtor is current as of the petition date and elects to pay the ongoing mortgage directly but subsequently defaults, Debtor
           should file a motion to modify the Plan within thirty (30) days of receiving notice of the default to provide for the payment of
           the post-petition mortgage arrears. The future ongoing mortgage payments shall be paid by the Trustee. The motion to
           modify the Plan must state the name, address, and account number of the Mortgage Creditor to whom payments are to be
           made; the date the Trustee is to commence the ongoing mortgage payments; and the treatment of the post-petition
           delinquency including the gap between the date when Debtor modified the Plan and the date on which the Trustee is to
           commence the ongoing mortgage payments. The Trustee may also file a motion to modify the Plan in the event of a
           post-petition default.
           The Standing Order for Chapter 13 Administration for the division in which this case is pending as to ongoing mortgage
           payments shall also apply.
           For cause shown, Debtor may deviate from the procedures set forth in this provision of the Plan provided that Debtor sets
           forth cause, with specificity, in PLAN PROVISIONS 8. Nonstandard Plan Provisions. The Trustee and any party in interest
           may object. Debtor shall have the burden of proving at any hearing on confirmation of the Plan cause for such deviation.
           Avoidance of administrative fees alone shall not be considered cause.
           The amounts set forth below are Debtor’s estimate and the allowed claim shall control as to the amounts. Those creditors
           holding a secured claim with ongoing mortgage payments are as follows:
                                                                                           Interest
                                                                            Monthly                       Payment Due
                                                                                           Rate (for
Creditor                                Property Address                    Mortgage                      Date (per            Paid By:
                                                                                           informational
                                                                            Payment                       contract)
                                                                                           purposes only)
Nationstar Mortgage, LLC                2111 Lemon Dr. Austin, TX 78744 $701.80            0.00%                                  Trustee
                                        Travis County                                                                          (Conduit)
                                        LOT 6 BLK K PEPPERTREE
                                        PARK SEC 1
7.7     Secured Claims: Cure Arrears on Long Term Debt and Mortgage Arrears on Debtor’s
Principal Residence.
           Arrears on long term debt and pre-petition mortgage arrearage claims shall be paid pursuant to the payment schedule set forth
           below. Upon discharge, if the pre-petition arrears and the post-petition ongoing payments are current on Debtor’s Principal
           Residence, the default will be deemed cured and the note reinstated according to its original terms, including the retention of
           any security interest. The pre-petition arrears set forth below is an estimate only and the Trustee shall pay the pre-petition
           arrears based on the proof of claim as filed by the creditor, unless a different amount is allowed pursuant to a court order.
           If there are insufficient funds to pay the monthly payment to claims within this class, creditors in this class shall be paid on a
           pro rata basis. If additional monies are available, the Trustee may, within his or her discretion, disburse such funds to this
           class on a pro rata basis.
           The following secured creditors hold claims for arrears in this class:
                                                                                    Monthly
                                                                     Estimated      Payment or       Interest Rate
Creditor                         Collateral Description                                                              Remarks
                                                                     Arrearage      Method of        (if applicable)
                                                                                    Distribution
Nationstar Mortgage,             2111 Lemon Dr. Austin, TX             $10,000.00           Prorata 0.00%
LLC                              78744 Travis County
                                 LOT 6 BLK K PEPPERTREE
                                 PARK SEC 1
7.8     Secured Claims: Treatment of Claim and Motion to Value Collateral Pursuant to § 506; and 910 Day Claims/1 Year
Claims.

           Creditors within this class shall retain their liens on the collateral that is security for their claims until the earlier of: (1) the
           date the underlying debt, as determined by non-bankruptcy law, has been paid in full; or (2) the date discharge is entered
           under § 1328. If the case is dismissed or converted without completion of all Plan payments, the liens shall be retained by the
           creditors pursuant to applicable non-bankruptcy law.


Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
           Debtor moves to value the collateral described below in the amounts indicated. The values as stated below represent the fair
           market value of the collateral pursuant to § 506(a)(2). Objections to the valuation of collateral proposed by this Motion and
           the Plan must be filed no later than fourteen (14) days before the confirmation hearing date. If no timely objection is filed, the
           relief requested may be granted in conjunction with the confirmation of the Plan.
           The Trustee shall pay the allowed secured claims, which require the filing of a proof of claim, to the extent of the value of the
           collateral or the full payment of the claim as specified below, plus interest thereon at the rate specified in this Plan. Failure
           of the secured creditor to object will be deemed acceptance of the plan under § 1325(a)(5)(A) Except for secured claims
           for which provision is made to pay the full amount of the claim notwithstanding the value of the collateral, the portion of any
           allowed claim that exceeds the value of the collateral shall be treated as an unsecured claim under Section 7.11 below.
                                                                                                           Equal                    910
                                                                     Amount of    Fair Market   Interest             Unsecured
Creditor                       Collateral Description                                                      Monthly                  Claim?*
                                                                     Debt (Est)   Value         Rate                 Claim
                                                                                                           Payment                  **
-NONE-
*** Debtor indicates, by notation ( ) that the collateral which secures the claim was purchased within 910 days if a vehicle or within
1 year if personal property pursuant to § 1325(a) (hanging paragraph).
           If additional monies are available, the Trustee may, within his or her discretion, disburse such funds to this class on a pro rata
           basis.
           If any secured proof of claim is timely filed for a debt that was either not scheduled or scheduled as unsecured, the claim
           shall be allowed as secured unless otherwise ordered by the Court. Said claim shall be paid under the Plan with interest
           at 0.00 % per annum and shall be paid on a pro rata basis as funds become available after payment of any fixed equal
           monthly payments payable to other secured creditors listed above.
7.9        Wholly Unsecured Claims.

NOTICE OF DEBTOR’S INTENTION TO STRIP A WHOLLY UNSECURED LIEN
Debtor proposes a Chapter 13 plan that strips your lien secured by real property to a wholly unsecured claim. The Plan
alleges that the value of the real property is less than the amount owed on all liens that are senior in priority to your lien.
Your claim will receive no distributions as a secured claim but will receive distributions as a general unsecured claim.
If you disagree with the treatment proposed by the Plan that will terminate your lien and that will pay your claim as a
general unsecured claim, you must file an objection to the Plan no later than fourteen (14) days before the confirmation
hearing date. If you fail to object, the Bankruptcy Court may approve the Plan without further notice.
Upon entry of a Discharge Order, the holder of the lien is required to execute and record a full and unequivocal release of its
liens, encumbrances and security interests secured by the real property and to provide a copy of the release to the Trustee,
Debtor, and Debtor’s counsel. Notwithstanding the foregoing, the holder of a lien that secures post-petition homeowners’
association fees and assessments will be allowed to retain its lien, but only to secure (i) post-petition assessments; and (ii)
other post-petition amounts, such as legal fees, if such post-petition amounts are incurred with respect to post-petition fees
and assessments, and are approved by the Court, if incurred during the pendency of the bankruptcy case.
This provision does not apply if a secured creditor does not file a proof of claim.
Notice of this Plan provision must be provided by the Debtor to the secured creditor in accordance with Fed. R. Bankr. P. 7004.
           The following claims shall be paid as a general unsecured claim as there is no equity in the collateral to secure the claim.
           If the case is dismissed or converted without completion of all Plan payments, the liens shall be retained by the creditors
           pursuant to applicable non-bankruptcy law.
           Those creditors holding secured claims that are wholly unsecured and are within this class are as follows:
                                                                                                                     Amount of Senior
Creditor                                       Collateral                                   Fair Market Value
                                                                                                                     Lien(s)
-NONE-

7.10       Motions to Avoid Lien Pursuant to § 522(f).
           The Bankruptcy Code allows certain liens to be avoided. If a lien is avoided, the creditor’s claim, to the extent allowed, will
           be treated as a general unsecured claim under Section 7.11. The amount of the debt set forth in the Plan is Debtor’s estimate
           and if the actual allowed claim is in a different amount, the unsecured amount to be treated pursuant to the Plan shall be the
           amount due on the allowed claim.
           If the case is dismissed or converted without completion of all Plan payments, the liens shall be retained by the creditors

Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
           pursuant to applicable non-bankruptcy law.
           Debtor moves under § 522(f) to avoid the following liens that impair exemptions. Objections to this treatment must be filed
           no later than fourteen (14) days before the confirmation hearing date. If no timely objection is filed, the relief requested may
           be granted in conjunction with the confirmation of the Plan. (Debtor must list the specific exempt property that the lien
           impairs and the basis of the lien—e.g. judicial lien, non-PMSI, etc.).
Creditor                                 Property Subject to Lien             Lien Amount to be     Secured          Type of Lien
                                                                              Avoided               Amount
                                                                                                    Remaining
-NONE-

7.11       General Unsecured Claims.
           Creditors within this class hold general unsecured claims that are not otherwise provided for in the Plan, including but not
           limited to creditors’ unsecured claims arising by reason of lien avoidance or lien strip, rejection of executory contracts or
           leases, or bifurcation of a claim. Payments to holders of allowed claims within this class shall be disbursed on a pro rata basis
           and shall be disbursed after payment of other creditors. The amounts set forth as unsecured claims in Debtor’s schedules are
           estimates only, and payments to holders of allowed general unsecured claims shall be based upon allowed claim amounts.

                                                 8. Nonstandard Plan Provisions
Nonstandard Plan Provisions.
The following Plan provisions will be effective only if there is a check in the box in Section 1.3 of the Plan.


Failure to place any nonstandard provision in this section results in the nonstandard provision being void.
I certify that all nonstandard plan provisions are contained in this section of the Plan

/s/ Susan G. Taylor                                                                     Date:     January 28, 2019
Susan G. Taylor 19723660
Debtor's Attorney
State Bar No.     19723660 TX

/s/ Albert M. Gonzalez
Albert M. Gonzalez
Debtor

                                                                     Certificate of Service
Debtor shall be responsible for service of the Plan on the Trustee and all parties in interest.

Ad Astra Recovery
7330 West 33rd Street North
Suite 118
Wichita, KS 67205

Barrett Daffin Frappier Turner & Engel
4004 Belt Line Road, Suite 100
Addison, TX 75001

Carecentrix, Inc
PO Box 277947
Atlanta, GA 30384

Clinical Pathology Associates
P.O. Box 28770
Austin, TX 78755-8770

Clinical Pathology Associates
P.O. Box 28770
Austin, TX 78755-8770



Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
Clinical Pathology Associates
P.O. Box 28770
Austin, TX 78755-8770

Credit Management, LP
Attn: Bankruptcy
Po Box 118288
Carrollton, TX 75011

Law Office of Susan G. Taylor
1502 West Ave.
Austin, TX 78701

Merchants & Professional Credit Bureau
Attn: Bankruptcy
5508 Parkcrest Dr Ste. 210
Austin, TX 78731

Mr. Cooper
Attn: Bankruptcy
8950 Cypress Waters Blvd
Coppell, TX 75019

Nationstar Mortgage, LLC
Attn: Bankruptcy Department
PO Box 619096
Dallas, TX 75261

Resurgent Capital Services
PO Box 1927
Greenville, SC 29602

Sisco
PO Box 389
Dubuque, IA 52001

ST. Davids Hospital
PO Box 406167
Atlanta, GA 30384

Texas Orthopedics
PO Box 678123
Dallas, TX 75267-8123

Texas Premier Hospitalist Ser
PO box 638314
Cincinnati, IN 46263

Small Business Administration (SBA)
U.S. Small Business Administration
Little Rock Commercial Loan Servicing
Center 2120 Riverfront Drive, Suite 100
Little Rock, AR 72202

Veterans Administration (VA)
San Antonio and Del Rio Divisions:
VA Regional Office
Office of District Counsel
2515 Murworth Drive
Houston, TX 77054



Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com   Best Case Bankruptcy
VA Regional Office
Office of District Counsel (02)
1400 N. Valley Mills Drive
Waco, TX 76799

Department of Housing and Urban Development (HUD, FHA)
Office of Litigation
US Department of HUD
451 7th St., SW, Room 10258
Washington, DC 20410

Office of General Counsel
801 Cherry Street
Suite 2500, Unit 45
Fort Worth, TX 76102

Office of General Counsel
Hipolito Garcia Federal Building and Courthouse
615 E. Houston Street, Room 347
San Antonio, TX 78205

Office of Litigation
US Department of HUD
451 7th St., SW, Room 10258
Washington, DC 20410

Office of General Counsel
801 Cherry Street
Suite 2500, Unit 45
Fort Worth, TX 76102

Internal Revenue Service
Centralized Insolvency Office
P. O. Box 7346
Philadelphia, PA 19101-7346

United States Department of Justice - All Divisions:
United States Attorney, Civil Process Clerk
601 N. W. Loop 410, Suite 600
San Antonio, TX 78216

United States Attorney General
Department of Justice
950 Pennsylvania Avenue, N.W.
Washington, D.C. 20530

United States Trustee
615 E. Houston, Suite 533
San Antonio, TX 78205

United States Trustee
903 San Jacinto, Suite 230
Austin, TX 78701

Army Airforce Exchange (AAFES)
Creditor’s Bankruptcy Service
PO Box 740933
Dallas, TX 75374



Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com   Best Case Bankruptcy
Department of Education
Office of General Counsel
400 Maryland Ave, SW Rm 6E353
Washington, DC 20202

Texas Comptroller of Public Accounts
Revenue Accounting Division - Bankruptcy Section
P.O. Box 13528 Capitol Station
Austin, TX 78711

Texas Workforce Commission
TWC Building - Regulatory Integrity Division
101 East 15th Street
Austin, TX 78778

Texas Alcoholic Beverage Commission
Licenses and Permits Division
P. O. Box 13127
Austin, TX 78711

Albert M. Gonzalez
2111 Lemon Dr.
Austin, Texas 78744




Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com   Best Case Bankruptcy
